
210 Md. 654 (1956)
123 A.2d 447
WALKER
v.
WARDEN OF MARYLAND HOUSE OF CORRECTION
[H.C. No. 35, October Term, 1955.]
Court of Appeals of Maryland.
Decided June 13, 1956.
Before BRUNE, C.J., and DELAPLAINE, COLLINS, HENDERSON and HAMMOND, JJ.
HENDERSON, J., delivered the opinion of the Court.
This is an application for leave to appeal from the denial of a writ of habeas corpus. A previous application was denied in Walker v. Warden, 209 Md. 654. We find nothing in the present record that would alter the views expressed in our previous opinion, as to the alleged denial of counsel.
His present complaint seems to be that since he did not take the stand, the jury mistakenly believed they were trying the case against his co-defendant, who pleaded guilty, and not his own case, where there was a plea of not guilty. We have repeatedly held that the sufficiency of evidence to convict *655 can be reviewed only upon direct appeal, and not on habeas corpus. The alleged mistake goes only to the regularity of the trial and not to the point of jurisdiction.
Application denied, with costs.
